       Case 1:16-cv-02145-JEJ-MCC Document 292 Filed 12/09/19 Page 1 of 2



        AMENDED TABLE OF CONTENTS TO ECF DOCUMENT 291

I.      PROCEDURAL HISTORY ............................................................................1
II.    QUESTIONS INVOLVED .............................................................................. 3
III.   ARGUMENT ...................................................................................................4
        A.     Discovery Materials and Motions.......................................................... 4
                1.       Documents 135 (Exhibits 1-8) and 196-1. .................................. 4
                2.       Document 127 (and Relatedly Document 161, Exhibit
                         30) Should Be Redacted as Proposed in Appendix A for
                         Good Cause Shown, and Document 196-2 Should Be
                         Redacted as Proposed in Appendix B. ........................................ 5
        B.     Common Law Right of Access .............................................................. 9
                1.       In Consideration of the Court’s Order, Defendants Do
                         Not Contest the Unconditional Unsealing of Document
                         161 (Exhibits 2-7, 16-18, 20-29, 31-37, 46, & 54-60), and
                         Document 176 (Exhibits 1-3, 5, 38, 40-41, 58, 62, 64-65,
                         67, & 69-70). ............................................................................... 9
                2.       Documents 161 (Exhibits 14-15, 19, & 47-50) and
                         Documents 176 (Exhibits 19, 27-33, & 54-55) Must
                         Remain Sealed As They Are Medical Records and
                         Witness Testimony Provided by Third-Party Mental
                         Health Providers in Reliance Upon Qualified Protective
                         Orders Issued in Favor of Such Third-Party Providers. ........... 11
                3.       Document 161 (Exhibits 1, 8, 11-13, & 61-62) and
                         Document 176 (Exhibits 4, 7, 8-18, 20-26, 34, 42-44, 49-
                         53, 60-61 & 66) Must Remain Sealed As They Constitute
                         Protected Health Information of A.B. .......................................14
                4.       Document 176 (Exhibits 35-37) Must Remain Sealed As
                         Plaintiffs’ Purported Expert Reports Are Entirely Based
                         Upon And Reflect Protected Health Information Subject
                         To HIPAA, The QPOs, And The JSPO. ...................................18


                                                         i
     Case 1:16-cv-02145-JEJ-MCC Document 292 Filed 12/09/19 Page 2 of 2



              5.       Certain Documents Provisionally Unsealed By The Court
                       Must Be Redacted Because They Reflect Confidential
                       School Records And Related Information Of AB. ................... 19
              6.       Certain Documents Provisionally Unsealed By The Court
                       Must Be Redacted Because They Implicate Third-Party
                       Privacy Interests, Third-Party Medical Information, And
                       MHS Employee Personnel Information....................................21
V.    CONCLUSION .............................................................................................22



APPENDICES

Appendix A:            Proposed Redactions to Discovery Documents 127 and
                       Document 161 (Exhibit 30).

Appendix B:            Proposed Redactions to Common Law Right of Access
                       Documents and Document 196-2.

Appendix C:            Proposed Redactions to Document 161 (Appendix B and
                       Exhibits 38-45).




                                                     ii
